                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                CHATTANOOGA DIVISION

  SHARON M. GUTHRIE,                              )
                                                  )
         Plaintiff,                               )
                                                  )
  v.                                              )          No. 1:22-cv-00162-DCLC-SKL
                                                  )
  UNITED STATES OF AMERICA,                       )
                                                  )
         Defendant.                               )

                                  MEMORANDUM AND ORDER

         Before the Court is a Motion to Amend Ad Damnum Clause Pursuant to 28 U.S.C. §

  2675(b) [Doc. 34] filed by Plaintiff Sharon Guthrie (“Plaintiff”). Defendant United States of

  America (“Defendant”) filed a response in opposition [Doc. 36], and Plaintiff filed a reply [Doc.

  39]. This matter is now ripe.

  I.     BACKGROUND

         This case arises from a motor vehicle collision between Plaintiff and Samuel Anderson,

  which occurred on December 15, 2020. Anderson was driving a Palletized Load System truck

  which was owned by the United States Department of the Army, and Anderson was acting within

  the scope of his employment with the Tennessee National Guard.            Plaintiff submitted an

  administrative claim pursuant to the Federal Tort Claims Act (“FTCA”) on December 10, 2021.

  The claim sought $42,000 for property damage and $750,000 in “personal injury” damages, for a

  total of $792,000 [Doc. 34-1 at Page ID # 577]. A settlement demand letter attached to the claim

  indicates as of December 2021, Plaintiff had incurred $59,409.02 in medical treatment costs, and

  she was expected to incur future treatment costs ranging between $87,000 and $155,000. The




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  claim also sought $82,000 for unpaid wages and an unspecified amount for non-economic damages

  (i.e., pain and suffering). 1

          The Army denied the administrative claim on February 16, 2022, and Plaintiff filed suit on

  June 22, 2022. The original complaint [Doc. 1] sought $792,000 in damages, consistent with the

  administrative claim.

          As Plaintiff notes in her motion, she continued to receive medical treatment after filing

  suit. In particular, she had knee surgery in March 2023. Because Plaintiff was already aware she

  would need this surgery when she filed her administrative claim, the costs of it are included in

  Plaintiff’s original $792,000 damages request. However, Plaintiff experienced complications

  following this surgery, including what she describes as an “aspiration of fluid” in her knee, which

  turned out to be a fungus that was later characterized as an “atypical infection.” [Doc. 34 at Page

  ID # 573]. Plaintiff ultimately underwent a “total knee revision surgery” in December 2023, during

  which certain hardware was replaced, antifungals and antibiotics were added, and new hardware

  was added for a tibial fracture that occurred during the second surgery [id. at Page ID # 572-73].

  Plaintiff asserts her treatment costs increased by “at least $157,797.56” as a result of the December

  2023 surgery alone, and her overall treatment costs now total $464,544.43 [id. at Page ID # 573],

  a significant increase over the amount accounted for in her administrative claim and in her original

  complaint. Plaintiff also claims her pain and suffering damages have increased up to the statutory

  limit in Tennessee of $750,000, 2 as a result of the complications she experienced and additional

  treatment she was required to undergo.



  1
   It appears the $750,000 personal injury aspect of the claim included the past and future treatment
  costs, pain and suffering damages, and unpaid wages.
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    The FTCA does not create a cause of action; rather, it “waives sovereign immunity to the extent
  that state-law would impose liability on ‘a private individual in similar circumstances.’” Myers v.
                                                   2

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         As a result, Plaintiff now moves to amend her complaint to increase her damages request

  from $792,000, to $1,338,544.43, including $464,544.43 in total treatment costs and $750,000 for

  pain and suffering (plus the original amounts for lost wages, $82,000, and for property damage,

  $42,000).

         Pursuant to the Amended Scheduling Order [Doc. 30], the deadline for amending pleadings

  passed on October 3, 2023. Discovery in this case closed on February 16, 2024, and the dispositive

  motions deadline expired on March 1, 2024.

  II.    ANALYSIS

         The Court will first address whether Plaintiff’s proposed damages increase meets the newly

  discovered evidence/intervening facts exception to the sum certain notice requirements of the

  FTCA, codified at 28 U.S.C. § 2675. The Court will then address whether this proposed

  amendment to Plaintiff’s complaint should be allowed under Federal Rules of Civil Procedure 15

  and 16, despite its untimeliness.

         A.      The FTCA

         The FTCA provides, in relevant part:

                          (a) An action shall not be instituted upon a claim against the
                 United States for money damages for injury or loss of property or
                 personal injury or death caused by the negligent or wrongful act or
                 omission of any employee of the Government while acting within
                 the scope of his office or employment, unless the claimant shall have
                 first presented the claim to the appropriate Federal agency and his
                 claim shall have been finally denied by the agency in writing and
                 sent by certified or registered mail. . . .




  United States, 17 F.3d 890, 894 (6th Cir. 1994) (quoting 28 U.S.C. § 2674). Courts applying the
  FTCA must, therefore, “look to the substantive tort law of the state in which the cause of action
  arose to determine liability and damages.” Huddleston v. United States, 485 F. App’x 744, 745
  (6th Cir. 2012). Tennessee imposes a $750,000 cap on noneconomic damages. See Tenn. Code
  Ann. § 29-39-102.
                                                   3

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                         (b) Action under this section shall not be instituted for
                 any sum in excess of the amount of the claim presented to the
                 federal agency, except where the increased amount is based
                 upon newly discovered evidence not reasonably discoverable at
                 the time of presenting the claim to the federal agency, or upon
                 allegation and proof of intervening facts, relating to the amount
                 of the claim.

                 ....

  28 U.S.C. § 2675 (emphasis added).         In other words, damages recoverable in a personal

  injury/property damage action filed pursuant to the FTCA are generally limited to the amount the

  plaintiff seeks in their administrative claim. See Kirk v. United States, No. 1:05-cv-112, 2006 WL

  1459867, at *1 (W.D. Mich. May 25, 2006). The purpose of the “sum certain” requirement in the

  FTCA “is to ensure that federal agencies charged with making an initial attempt to settle tort claims

  against the United States are given full notice of the government’s potential liability.” Allgeier v.

  United States, 909 F.2d 869, 878 (6th Cir. 1990).

         When seeking damages in excess of those sought in the administrative claim, the plaintiff

  bears the burden of showing the increased amount is justified by “newly discovered evidence not

  reasonably discoverable at the time of presenting the [administrative] claim,” or on “intervening

  facts.” 3 28 U.S.C. § 2675(b); Allgeier, 909 F.2d at 877. To meet this burden, “a plaintiff must

  show the new evidence or intervening facts were not reasonably capable of detection at the time

  the administrative claim was filed.      The plaintiff is required to demonstrate that the new

  information could not have been discovered through the exercise of reasonable diligence.” Norrell

  v. United States, Nos. 1:00-CV-303, 1:02-cv-013, 2002 WL 32060141, at *3 (E.D. Tenn. Aug. 1,

  2002) (citing Dickerson ex rel. Dickerson v. United States, 280 F.3d 470, 475-76 (5th Cir.2002);



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    The parties do not draw a distinction between “newly discovered evidence” and “intervening
  facts,” and there does not appear to be a relevant distinction for purposes of addressing Plaintiff’s
  motion.
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  Lebron v. United States, 279 F.3d 321, 330 (5th Cir. 2002); Low v. United States, 795 F.2d 466,

  470 (5th Cir.1986)).

         In Allgeier, the Sixth Circuit adopted a “stricter reading of ‘intervening fact,’” which

  requires that damages in excess of administrative claim be reasonably “unexpected or unforeseen.”

  909 F.2d at 878; see also id. at 879 (affirming award of damages in excess of administrative claim,

  holding that “because of the relative improvement in [the plaintiff’s] condition immediately before

  the administrative claim was filed and the significant worsening of her condition well over a year

  later, the need for the second operation and extensive additional treatment were not reasonably

  foreseeable at the time the administrative claim was filed” (emphasis added)).

         The parties dispute whether these standards embody the “worst-case prognosis” test, but

  the Court finds it unnecessary to resolve that particular issue. Even under the standards/test as

  articulated by Defendant, the Court finds the complications (including pain and suffering) from

  Plaintiff’s first knee surgery and the necessity of a second knee surgery constitute “newly

  discovered evidence” and/or “intervening facts” post-dating the filing of Plaintiff’s administrative

  FTCA claim and sufficient to meet the requirements of the sum certain exception.

         In Norrell, this Court explained the worst-case prognosis test as follows:

                           When a plaintiff files an FTCA administrative claim, he
                 must take care to cover the worst-case scenario by setting a
                 maximum limit on the dollar amount of his claim that takes into
                 account the worst-case medical prognosis of his known injury or
                 condition. Post-administrative claim information can be newly
                 discovered evidence or an intervening fact under 28 U.S.C. §
                 2675(b) if it sheds significant new light on the basic severity of the
                 claimant’s injury or condition, i.e. if it materially differs from the
                 worst-case prognosis of which the claimant either knew or
                 reasonably could have known when the administrative claim was
                 filed. . . .

                 . . . . If [a claimant] misjudges as to matters that are known to him
                 or capable of being deduced by him through the exercise of

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                 reasonable diligence when his administrative claim is filed, then it
                 is more equitable, given the narrow purpose and strict construction
                 of the FTCA’s waiver of sovereign immunity, for [the claimant] to
                 bear the burden of his miscalculation rather than to impose it on the
                 federal government.

  2002 WL 32060141, at *7 (citations omitted).

         In Norrell, the claimant sought to increase his compensatory damages request from

  $259,500 (from his administrative claim) to $650,000, because he underwent spinal fusion surgery

  after filing his administrative claim. This Court denied the request, reasoning that prior to filing

  the claim, the claimant knew he had a significant cervical spine injury and he opted to follow “a

  conservative course of treatment using physical therapy and medication.” Id. at *5. When the

  conservative treatment did not achieve the desired result, the claimant “made the decision to have

  spinal fusion surgery.” Id. The Court found an “objectively reasonable person” standing in the

  claimant’s shoes when he filed his administrative claim “could have expected and foreseen that it

  might very well become necessary in the future to have surgery.” Id. at *6. The Court reasoned

  the subsequent need for surgery following a failed attempt at conservative treatment only

  addressed “the precision with which the severity of his injury or condition could have been

  known,” and it did not “shed new light on” the claimant’s condition or “materially differ[]” from

  the worst-case prognosis. Id. at *7 (citation omitted). The Court emphasized the administrative

  claim itself sought $250,000 for medical treatment, which was in excess of the costs of the

  conservative treatment course, thereby reflecting the claimant himself reasonably believed surgery

  was a possibility, even if he did not adequately account for the costs. Id. at *6.

         The Court contrasted the facts of Norrell with those in Allgeier. The Court noted the “key

  factor” in Allgeier was that prior to filing her administrative claim, the claimant received

  information that led her to “believe that her injuries were only temporary and were largely cured



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  such that no additional surgery would be necessary.” Id. at *4 (discussing Allgeier). More than

  one year after filing her administrative claim, her condition significantly worsened. She learned

  her injuries would be permanent and she would require a second surgery, which was “contrary to

  her physician’s prognosis” made prior to the filing of her administrative claim. Id. The Court in

  Norrell identified “three main points” the Allgeier decision was based on: (1) the claimant “did

  not know fully the medical extent of her injuries and expenses at the time the administrative claim

  was filed; (2) permanent injuries warrant more damages than temporary ones; and (3) there was

  proof of additional medical treatment, risk, surgery, expense, and pain long after [the]

  administrative claim was filed.” Id. at *3 (citing Allgeier, 909 F.2d at 877).

         In this case, Plaintiff did not even have her first knee surgery until after her administrative

  claim was filed, and therefore she had not begun to experience the complications that followed the

  first surgery. No amount of diligence could have led Plaintiff to discover the infection and other

  complications prior to filing her administrative claim in December 2021, because they only

  developed after the surgery in March 2023. A reasonable person might anticipate rehabilitation

  and physical therapy following a knee surgery, and perhaps as a worst-case prognosis, lifelong

  pain and limitations on mobility if the surgery was not completely successful. But it is not

  reasonable to expect a claimant to anticipate, even as a worst case, that a knee surgery will lead to

  an atypical fungal infection which necessitates a total revision surgery six months later. As

  Plaintiff’s points out, the second surgery did not result from Plaintiff’s choice to pursue treatment

  options in a certain sequence; rather, it was necessitated (at least allegedly) by an unexpected and

  serious infection following the first surgery. Cf. Cowley v. United States, No. 21-cv-2779-SHM-

  tmp, 2023 WL 4370439, at *3 (W.D. Tenn. July 6, 2023) (holding surgeries not grounds for

  increased damages from those sought in administrative claim, reasoning: “This case is unlike



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  Allgeier, in which surgery was an intervening fact because surgery was recommended only when

  [the plaintiff’s] condition unexpectedly became worse. Here, Plaintiff’s decision to postpone

  surgery was a personal preference.” (emphasis added)).

         Defendant argues “[a]ll surgical procedures have certain risks and complications,” such

  that Plaintiff “through the exercise of reasonable diligence could have known of the complications

  of infection and failure of the total knee replacement, as well as the need for additional surgery . .

  . when the administrative claim was filed.” [Doc. 36 at Page ID # 592]. This argument is not

  supported by citation to the record or to relevant authority, and the Court finds it inconsistent with

  the authorities discussed above. Plaintiff’s case may fall somewhere in between Allgeier and

  Norrell on the foreseeability spectrum, but it still fits comfortably within the definition of newly

  discovered evidence or intervening facts, such that the FTCA does not prohibit Plaintiff from

  requesting damages in excess of those sought in her administrative claim.

         B.      Federal Rules of Civil Procedure

         As Defendant points out, Plaintiff must also meet applicable standards for permitting an

  untimely amendment of a pleading, because Plaintiff’s motion to amend was filed more than five

  months after the October 3, 2023 deadline had expired.

         Federal Rule of Civil Procedure 15 directs that, where an amendment is not made as a

  matter of course, “a party may amend its pleading only with the opposing party’s written consent

  or the court’s leave.” Fed. R. Civ. P. 15(a)(2). “The court should freely give leave when justice

  so requires.” Id. Factors relevant in determining whether leave should be denied include “undue

  delay, bad faith or dilatory motive on the part of the movant, repeated failure to cure deficiencies

  by amendments previously allowed, undue prejudice to the opposing party by virtue of allowance

  of the amendment, [and] futility of the amendment.” See Foman v. Davis, 371 U.S. 178, 182



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  (1962); see also Leary v. Daeschner, 349 F.3d 888, 905 (6th Cir. 2003). To determine whether a

  proposed amendment is futile, courts apply standards applicable to a Rule 12(b)(6) motion to

  dismiss.   See Rose v. Hartford Underwriters Ins. Co., 203 F.3d 417, 420 (6th Cir. 2000)

  (citing Thiokol Corp. v. Dep’t of Treasury, 987 F.2d 376, 382-83 (6th Cir. 1993)). Delay alone

  does not typically justify denial of leave to amend. Morse v. McWhorter, 290 F.3d 795, 800 (6th

  Cir. 2002).

         Because Plaintiff’s motion to amend was filed more than five months after the deadline for

  amending pleadings, in effect she is asking the Court to modify the Amended Scheduling Order.

  A scheduling order “may be modified only for good cause and with the judge’s consent.” Fed. R.

  Civ. P. 16(b)(4). “The primary measure of Rule 16’s ‘good cause’ standard is the moving party’s

  diligence in attempting to meet the case management order’s requirements.” Inge v. Rock Fin.

  Corp., 281 F.3d 613, 625 (6th Cir. 2002) (quoting Bradford v. DANA Corp., 249 F.3d 807, 809

  (8th Cir. 2001)). “Another relevant consideration is possible prejudice to the party opposing the

  modification.” Id.; see also Moore v. Indus. Maint. Serv. of Tenn., Inc., 570 F. App’x 569, 577

  (6th Cir. 2014).

         Defendant argues Plaintiff could have moved to increase her damages request to include

  an estimated cost for the second surgery, related treatment, and pain and suffering prior to the

  October 3, 2023, deadline for amending pleadings. Defendant argues it will suffer undue prejudice

  is Plaintiff is permitted to do so now, “when discovery is closed and Defendant has no ability to

  retain medical experts to challenge these claims.” [Doc. 36 at Page ID # 589].

         Plaintiff does not address in any detail the specific reason she delayed moving to amend.

  Nevertheless, Plaintiff is not asserting any new claims or additional forms of relief beyond an

  increase in damages, and there is no indication Plaintiff has acted in bad faith or with the intent to



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   “sandbag” Defendant with the increase at this stage of the proceedings. As Plaintiff indicates in

   her reply, Defendant has long been on notice of the complications arising from the first knee

   surgery. Indeed, the parties’ Joint Motion to Amend Scheduling Order [Doc. 23], filed September

   26, 2023, provides:

                  3.      The parties have diligently engaged in the process of
                  discovery since the entry of the Court’s Scheduling Order, including
                  the exchange of paper discovery and preparation for depositions.
                  Plaintiff’s treatment has continued throughout this time.

                  4.     As the parties were preparing to conduct fact witness
                  depositions, Plaintiff learned from her treating physician that there
                  are complications from a knee surgery performed earlier this year.
                  Those complications will, in the opinion of Ms. Guthrie’s treating
                  physician, require additional surgical intervention, currently
                  scheduled for the second week in October.

                  5.     Given these new developments, i.e. Plaintiff’s continued
                  medical treatment, the parties contend that depositions should be
                  postponed until after Ms. Guthrie’s surgery in October.

   [Doc. 23 at Page ID # 62-63].

          Plaintiff indicates she updated her Rule 26(a)(1) disclosures on November 2, 2023, and

   again on March 10, 2024, to provide Defendant with the more recent medical bills and other

   relevant information. She also sat for a second deposition after the second surgery [Doc. 39 at

   Page ID # 644-45]. At some point along the way, Defendant surely gleaned Plaintiff’s intent to

   seek damages related to her ongoing serious knee issues (including the costs of the second surgery),

   even though Plaintiff had not filed a motion to amend. Defendant complains about the inability to

   retain an expert to challenge the additional damages, but Defendant does not address its choice not

   to retain one sooner considering the manner in which Plaintiff’s injuries, and this case, have

   progressed.




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          One final point: Defendant also makes a passing argument regarding Plaintiff’s alleged

   lack of expert proof relating her knee injury and the surgeries to the December 2020 collision that

   forms the basis for this lawsuit [see Doc. 36 at Page ID # 589-90]. This argument is not properly

   addressed in the context of a motion to amend the complaint. See Rose, 203 F.3d at 420-21 (courts

   not permitted to consider facts outside the proposed amended pleading when determining whether

   the amendment is futile). 4

          Accordingly, the Court will exercise its considerable discretion in this area to permit

   Plaintiff to file an amended complaint that increases her damages request from $792,000 to

   $1,338,544.43. Put simply, justice would not be served by denying the amendment based on the

   record currently before the Court.

   III.   CONCLUSION

          For the reasons set for the above, Plaintiff’s Motion to Amend Ad Damnum Clause

   Pursuant to 28 U.S.C. § 2675(b) [Doc. 34] is GRANTED. Plaintiff is ORDERED to file an

   Amended Complaint as a separate docket entry within SEVEN DAYS of entry of this Order. 5

   Plaintiff is ORDERED to limit the amendment consistent with this Order; that is, she is authorized

   to increase her damages request from $792,000 to $1,338,544.43. No additional amendments are

   authorized by entry of this Order.

          Discovery is now closed, and the parties are ON NOTICE the Court does not consider the

   relief ordered herein to serve as a basis for a general reopening of discovery or resetting of all




   4
    The Court does not address the statement in Plaintiff’s reply brief that the “parties have yet to
   depose (for use at trial) the treating physicians.” [Doc. 39 at Page ID # 645].
   5
    Although Plaintiff did not include a proposed amended complaint as required by Eastern District
   of Tennessee Local Rule 15.1, given the nature of the proposed amendment, the Court declines to
   deny the motion on this basis.
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   pretrial deadlines. If Defendant wishes to apply to the Court for specific relief from the Amended

   Scheduling Order to address the prejudice it claims will result from allowing Plaintiff’s proposed

   amendment, Defendant may file a separate, properly-supported motion seeking such relief, which

   the Court will address as needed. Before filing any such motion, Defendant is ORDERED to

   confer with Plaintiff to determine whether the motion is opposed.

          SO ORDERED.

          ENTER:

                                                s/Susan K. Lee
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE




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